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 2 Assistant United States Attorney
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 7    Attorneys for Plaintiff
      United States of America
 8
                    IN THE UNITED STATES DISTRICT COURT
 9                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                    Case No.: 15CR02586-GPC
12                  Plaintiff,
            vs.                                    PROTECTIVE ORDER
13
      JARIS JESUS TORRES-ITURRE (1),
14    JOSE UBER ESTUPIDAN-
      CARABALI (2) and
15    ASENCION ROjAS-BOLANOS (3),
16                 Defendants.
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            Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure an
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      General Order No. 514 of the United States District Court for the Southern Distric
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      of California ("General Order No. 514"), IT IS HEREBY ORDERED that:
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           1. All discovery related to U.S. Coast Guard policies regarding treatment 0
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      detainees and regarding the transfer of detainees to the custody of federal la
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      enforcement (hereinafter, "USCG Discovery"), produced by the United States i
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      this case is for use by defense counsel, any investigators, interpreters, experts
 2 paralegals, legal assistants, or law clerks assisting counsel in this case (th
 3 "Defense") solely for investigating, preparing for trial, trial, and any appeals of this
 4    matter and for no other purpose. The Defense may not distribute, disseminate
 5 disclose, or exhibit USCG Discovery materials to any person who is not a part 0
 6    the Defense except as further set forth herein.
 7         2. Each counsel of record shall sign a copy of this Protective Order,
 8 acknowledging its terms and agreeing to comply with them, and ensure that ever
 9 member of the Defense is advised of the Order and agrees to be bound by its terms.
10         3. The Defense shall take all reasonable steps to: (a) maintain th
11    confidentiality of USCG Discovery, and (b) safeguard USCG Discovery produce
12    in this case from disclosure to or review by any third party.
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          4. The Defense may           share USCG Discovery materials with an
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      investigators, consultants or experts retained by the Defense in connection wit
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      this case, provided that the Defense informs any such individual(s) of this Orde
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      and obtains his/her agreement to be bound by its tenns.
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          6. The Defense may show witnesses USCG Discovery materials a
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      necessary for the preparation of the defense, but may not give
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      materials to witnesses absent further order ofthe Court.
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 1       7. To the extent that USCG Discovery materials contain any individual'
 2   personal information within the meaning of General Order 514, the defense shal
 3 redact any filings referencing or containing said materials in a manner consisten
 4   with General Order 514.
 5       8. To the extent that USCG Discovery materials are court documents file
 6 under seal, require that the proponent of that evidence move to unseal th
 7 documents prior to their use at trial;
 8       9. If defense counsel withdraws or'is disqualified from participation in thi
 9   case, the Defense shall provide to new counselor return to the United States an
lO   and all copies of USCG Discovery within 10 days.
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12         IT IS SO ORDERED.


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     DATED: April_I,2016_ _ _......         a. . .-""'''''-'~''--''-_C-'·=-;£)-'-·
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                           HONORABLE GONZALO P. CURIEL
                           United States District Judge
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     Case 3:15-cr-02586-GPC              Document 75       Filed 04/05/16   PageID.394    Page 4 of 7




 1            I consen(to the entry of the attached protective order in the case of United
 2 States v. Torres-Iturre, et a!., Criminal Case


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 7    DATED:         i/t/I~
 8                                                          a Assistant United States Attorney
 9
10    DATED:
                                                  Robert A. Garcia
11                                                Counsel for Defendant Torres-Iturre
12
13    DATED:
                                                  John c. Lemon
14                                                Counsel for Defendant Rojas-Bolanos
15
16    DATED:
                                                  Ellis M. Johnston, III
17                                                Counsel for Defendant Estupinan-CarabaJi
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Case 3:15-cr-02586-GPC         Document 75         Filed 04/05/16   PageID.395     Page 5 of 7




 1         I consent to the entry of the attached protective order in the case of United
 2   States v. Torres-Iturre, et aI., Criminal Case No.1 SCR2S86-GPC.
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 4   DATED: _ _ _ __
                                            PatrIck 1. Bumatay
 5                                          Assistant United States Attorney
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 7 DATED:
                                            Emdy P. Reuter
 8                                          Special Assistant United States Attorney
 9
10   DATED:   :yriRj/t
11                                          Counsel for Defendant Torres-Iturre
12
13   DATED:
                                            John C. Lemon
14                                          Counsel for Defendant Rojas-Bolanos
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16   DATED:
                                            Elhs M. Johnston, III
17                                          Counsel for Defendant Estupinan-Carabali
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  2 States v. Torres-Iturre, et aI., Criminal CaseNo. 15CR2586-GPC.
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  4 , DATED;,_~~~,
                                                     Patrick J. B u m a t a y -
  5 i                                                AssistantUnited States Attorney
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  7 ::DATED:~ _____~,_~~
                                                     EmHY P. Reuter     ,               -
  8 :,                                               SpecIal Assistant United States Attorney
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 10 i,DATED;~~ _ _~,~~
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 ll!I,                                               Counsd.for DefendantTorres-Iturre
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 13 : DATED:, _ _ __
                                                    JOhn C:Cemon
 14 -                                               Counsel for Defendant Rojas-Bolanos
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 1        I consent to the entry of the attached protective order in the case of United
 2 States v. Torres-Iturre, et aI., Criminal Case No. lSCR2S86-GPC.
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 4 DATED:
                                           Patnck J. Bumatay
 5                                         Assistant United States Attorney
 6
 7 DATED:
                                           EmIly P. Reuter
 8                                         Special Assistant United States Attorney
 9
10 DATED:
                                           Robert A. Garcia
II                                         Counsel for Defendant Torres-Iturre
12
13   DATED:     If;;li~
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16   DATED:
                                           Ellis M. JohriSion, 1lI
17                                         Counsel for Defeildant Estupinan-Carabali
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